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                                             December 17, 2013

        VIA ECF
        The Honorable Richard P. Conaboy
        United States District Court for the Middle
        District of Pennsylvania
        Federal Building & U.S. Courthouse
        235 N. Washington Avenue
        P.O. Box 1148
        Scranton, PA 18501

                 RE:      CLEMENS V. NEW YORK CENTRAL MUTUAL INSURANCE COMPANY
                          (BAD FAITH ACTION)
                          Docket No.: 3:13-CV-02447-RPC
                          Our File No.: NYC-120 (0055909.0342248)
        Dear Judge Conaboy:

              Yesterday, I sent a letter to Ms. Albright advising her that I had raised the possibility
        of mediation with my client, and that I was waiting to hear back.

              My plan is to notify Ms. Albright as soon as I hear from my client on the subject of
        mediation.

               I am hopeful that I will receive good news, and will report also to the Court as soon
        as possible.

                                                       Very truly yours,

                                                       DICKIE, MCCAMEY & CHILCOTE, P.C.




                                                       Charles E. Haddick, Jr.


        CEH/kao
        cc:  M. Lee Albright, Esquire
